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                                                                     REDACTED

                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 11

ASHINC Corporation, et al.,                        Case No. 12-11564 (KBO)
                                                   (Jointly Administered)
                    Debtors.


CATHERINE E. YOUNGMAN, LITIGATION                  Adv. Proc. No. 13-50530
TRUSTEE FOR ASHINC CORPORATION, ET.
AL., AS SUCCESSOR TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS OF
ASHINC CORPORATION, AND ITS AFFILIATED
DEBTORS

                    Plaintiff,

BLACK DIAMOND OPPORTUNITY FUND II, LP,
BLACK DIAMOND CLO 2005-1 LTD., and
SPECTRUM INVESTMENT PARTNERS, L.P.,

                     Intervenors,

                    v.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND II, L.P., MARK
GENDREGSKE, JOS OPDEWEEGH, JAMES
FRANK, DEREX WALKER, JEFF PELLETIER,
IRA TOCHNER, and JOSEPH TOMCZAK,

                    Defendants.

CATHERINE E. YOUNGMAN, LITIGATION       Adv. Pro. No. 14-50971 (KBO)
TRUSTEE FOR ASHINC CORPORATION, ET AL.,
AS SUCCESSOR TO BLACK DIAMOND
OPPORTUNITY FUND II, LP, BLACK DIAMOND
CLO 2005-1 LTD., SPECTRUM INVESTMENT
PARTNERS, L.P., BLACK DIAMOND
COMMERCIAL FINANCE, L.L.C., as co-
administrative agent, and SPECTRUM
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COMMERCIAL FINANCE LLC, as co-
administrative agent,

                      Plaintiff,

v.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND II, L.P., RONALD BURKLE,
JOS OPDEWEEGH, DEREX WALKER, JEFF
PELLETIER, IRA TOCHNER, and JOSEPH
TOMCZAK,

                      Defendants.




         DECLARATION OF IRA TOCHNER IN SUPPORT OF MOTION FOR
                      SUMMARY JUDGMENT

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                                         Alliance Fund I, L.P., Yucaipa American


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                              Alliance (Parallel) Fund I, L.P., Ronald
                              Burkle, Jos Opdeweegh, Derex Walker, Jeff
                              Pelletier, and Ira Tochner




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                                DECLARATION OF IRA TOCHNER

I, Ira Tochner, hereby declare as follows:

        1.      I submit this declaration in support of the motions for summary judgment filed by

Yucaipa American Alliance Fund I, LP, Yucaipa American Alliance (Parallel) Fund I, LP

(collectively, the “Yucaipa Defendants”), Ronald Burkle, Jos Opdeweegh, Derex Walker, Jeff

Pelletier, and myself. I have personal knowledge of the facts set forth in this declaration and if

called to testify, I could and would competently testify to them.

        2.      I am a transaction partner at Yucaipa. The Yucaipa Defendants are two funds that

are associated with Yucaipa. I have worked at Yucaipa since 1991, and I have been a partner

since 2001. Yucaipa is not a “corporate raider”—instead Yucaipa traditionally invests in

companies with the goal of working with management and labor unions to improve operations

and financial performance over time. Yucaipa historically has brought jobs and investments

back into economically depressed regions of the United States. It traditionally has not invested

in distressed assets.

        3.      After Allied Systems Holdings, Inc. (“Allied”) emerged from bankruptcy in May

2007, I served twice on the board of directors of Allied. I first served on the Allied board

between May 2007 and January 2008. I then served on the Allied board again from April 2009

through December 2013. I was not a director of Allied between January 2008 and April 2009.

        4.      In August 2009, while I was a member of the Allied board, the Yucaipa

Defendants acquired the majority of Allied’s first lien debt from ComVest Investment Partners

III, L.P. (“ComVest”). At the time, I knew that Allied’s customers were concerned about

Allied’s stability. I believed that the Yucaipa Defendants’ acquisition of ComVest’s position




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was necessary to calm customer concerns and to enable Allied to avoid a second bankruptcy,

which I believed would have been detrimental to Allied and its stakeholders.

        5.     In order to consummate the Yucaipa-ComVest transaction in August 2009, I

understood that there would need to be an amendment to Allied’s First Lien Credit Agreement

(“FLCA”). I understood that the Fourth Amendment to the FLCA was legally valid and

appropriate from a business perspective. My understanding was based on the advice of Allied’s

long-time legal counsel, Troutman Sanders.

        6.      Simply put, from the time when the Fourth Amendment was executed in August

2009 all the way until March 2013, I understood and believed that it was legally valid. I also

know that in March 2013, a New York court deemed the Fourth Amendment invalid for reasons

I do not fully understand. Notwithstanding the New York Court’s ruling or subsequent rulings

by other courts, I continue to believe that the Fourth Amendment and the Yucaipa Defendants’

debt purchase in August 2009 was in the best interest of Allied and all of its stakeholders, and

mutually beneficial for Allied and the Yucaipa Defendants.

        7.     Between late 2011 and mid-2012, the Yucaipa Defendants were negotiating with

Jack Cooper Transport (“JCT”) regarding JCT’s potential acquisition of the Yucaipa Defendants’

debt in Allied. 1 At that time, I believed and understood that the contemplated transaction

between the Yucaipa Defendants and JCT would be mutually beneficial for the Yucaipa

Defendants and Allied.

        8.     I understand that at paragraph 139 in the “Lender Complaint,” the Trustee asserts

that with respect to Allied, I was “not pursuing in good faith the legitimate profit-seeking



 1
     There had also been previous negotiations among various parties concerning JCT’s potential
     acquisition of Allied or Allied’s first lien debt.


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activities of Yucaipa or [Allied]” but rather, was trying to benefit myself “individually at the

expense of [Allied] and [its] stakeholders.” However, these allegations are not true. I never

acted to advance my own personal financial interest with respect to Allied or any of the

allegations that are at issue in this case.


        I declare under penalty of perjury under the laws of the Unites states that the foregoing is

true and correct, and that this Declaration was executed on the 29th day of April 2020, at Los

Angeles, California.




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